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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   DETROIT DIVISION

HEATHER GREGORY,

   Plaintiff,
                                                   CASE NO.: 2-18-CV-12261-VAR-APP
-vs-                                               HON. VICTORIA A. ROBERTS
                                                   HON. ANTHONY P. PATTI
ALLY FINANCIAL, INC.

   Defendant.
                                      /

                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, Heather Gregory, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release documents. Upon execution of the

same, the parties will file the appropriate dismissal documents with the Court.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of December, 2018, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy was served via electronic mail to:     Mark D. Kundmueller, Esquire and Ethan Ostroff,

Esquire, Troutman Sanders, 222 Central Park Avenue, Suite 2000, Virginia Beach, VA 23462;

(mark.kundmueller@troutman.com and ethan.ostroff@troutman.com).

                                               /s/Octavio Gomez
                                               Octavio “Tav” Gomez, Esquire
                                               Morgan & Morgan, Tampa, P.A.
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